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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
                                                                   :
In re:                                                             : Chapter 11
                                                                   :
96 WYTHE ACQUISITION LLC,                                          : Case No. 21-22108 (RDD)
                                                                   :
                                    Debtor.                        :
                                                                   :
------------------------------------------------------------------ X

              FIFTH INTERIM ORDER FOR USE OF CASH COLLATERAL

       Upon the motion (the “Cash Collateral Motion”) for an order pursuant to § 363(c)(2)(B)

and 506(c) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 4001(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking the entry of an order

(A) authorizing 96 Wythe Acquisition LLC, the debtor and debtor in possession herein (the

“Debtor”) to use cash collateral, as that term is defined in §363(a) of the Bankruptcy Code (the

“Cash Collateral”) on an interim basis in accordance with the Budget annexed to the Cash

Collateral Motion as Exhibit A, pending a final hearing (B) granting adequate protection to Benefit

Street Partners Realty Operating Partnership, L.P. (the “Lender”) and scheduling a Final Hearing

(defined below) pursuant to Bankruptcy Rule 4001; and there being due and sufficient notice of

the Cash Collateral Motion and the First Interim Hearing, defined below; and upon this Court’s

prior orders dated March 5, 2021 [ECF No. 15] (the “First Interim Order”), March 19, 2021 [ECF

No. 21] (the “Second Interim Order”), April 21, 2021 [ECF No. 28] (the “Third Interim Order”)

and June 21, 2021 [ECF No. 52] (the “Fourth Interim Order”) authorizing the Debtor’s use of cash

collateral pending the Final Hearing; and

       The Court having considered the Cash Collateral Motion, the pleadings filed with the

Court, including the objection to the Cash Collateral Motion filed by the Lender, the evidence


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submitted and arguments proffered or adduced at the first interim hearing (the “First Interim

Hearing”) held before the Court on March 2, 2021, the second interim hearing (the “Second Interim

Hearing”) held before the Court on March 15, 2021, the third interim hearing (the “Third Interim

Hearing”) held before the Court on April 5, 2021, the fourth interim hearing (the “Fourth Interim

Hearing”) held before the Court on June 2, 2021, and the fifth interim hearing (the “Fifth Interim

Hearing”) held before the Court on September 10, 2021, and it appearing that granting the interim

relief requested as and to the extent provided in this Fifth Interim Order and entering this Fifth

Interim Order is necessary to avoid immediate and irreparable harm to the Debtor, its creditors and

its estate pending the final hearing to be held on ____________, 2021 at 10:00 a.m. (the “Final

Hearing”) and otherwise is fair and reasonable and in the best interests of the Debtor, its estate and

its creditors, and equity holders, and is essential for the continued operation of the Debtor’s

business; and after due deliberation and consideration, and good and sufficient cause appearing

therefor,

       IT IS HEREBY ORDERED THAT:

                1.     The request to use Cash Collateral is granted on an interim basis solely in

accordance with and subject to the terms and conditions of this Fifth Interim Order and shall

terminate on the earliest to occur of (the “Termination Date”): (i) ____________________, 2021,

unless such date is extended by the Lender, (ii) the entry of an order of this Court terminating such

authority; (iii) the dismissal of the chapter 11 case (the “Case”) or conversion to a case under

chapter 7 of the Bankruptcy Code; and (iv) the date that is five (5) days after the Lender provides

a written notice of an Event of Default (the period during which the Debtor is authorized to use

Cash Collateral pursuant to this Fifth Interim Order being referred to as the “Interim Period”),

except to the extent the Court has entered a further interim or final order authorizing the Debtor’s



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continued use of Cash Collateral beyond the Interim Period.

                2.     The Debtor may use the Cash Collateral during the Interim Period solely to

pay the ordinary, necessary and reasonable expenses of operating the Williamsburg Hotel (the

“Hotel”) that come due (and as they come due in the ordinary course of business) during the

Interim Period solely in accordance with and subject to the budget attached hereto as Exhibit 1

(the “Budget”) but expressly excluding professional fees, it being the understanding of the Parties

that the line item for professional fees in the Budget shall be deemed deleted, and, for the avoidance

doubt, without any prepayment or acceleration of expenses.       The Debtor’s actual disbursements

shall not exceed 110% of the disbursements projected on a “Departmental” level for any week (the

“Permitted Budget Variance”). The Budget and any modification thereto shall be in form and

substance acceptable to the Lender in its sole discretion.

                3.     Pursuant to sections 361, 363(c)(2) and 363(e) of the Bankruptcy Code, the

Lender is entitled to adequate protection to the extent that the imposition of the automatic stay

under section 362 of the Bankruptcy Code, or any use, sale, lease, depreciation, or disposition of

its collateral during the Interim Period results in a diminution in the value of its interests (to the

extent valid, perfected and enforceable) in the collateral (including from the use of Cash Collateral)

from and after the Petition Date (a “Diminution”). The Lender shall receive the following as

adequate protection of such interests:

                a. Adequate Protection Liens. To the extent of any Diminution, the Lender is
                   hereby granted additional and replacement valid, binding, enforceable, non-
                   avoidable, and automatically perfected postpetition security interests in and
                   liens on (the “Adequate Protection Liens”), without the necessity of the
                   execution by the Debtor (or recordation or other filing) of security agreements,
                   control agreements, pledge agreements, financing statements, mortgages, or
                   other similar documents, on all property, whether now owned or hereafter
                   acquired or existing and wherever located, of the Debtor and the Debtor’s
                   “estate” (as created pursuant to section 541(a) of the Bankruptcy Code), of any
                   kind or nature whatsoever, real or personal, tangible or intangible, and now

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                   existing or hereafter acquired or created, including, without limitation, all cash,
                   accounts, inventory, goods, contract rights, instruments, documents, chattel
                   paper, patents, trademarks, copyrights, and licenses therefor, accounts
                   receivable, receivables and receivables records, general intangibles, payment
                   intangibles, tax or other refunds, insurance proceeds, letters of credit, contracts,
                   owned real estate, real property leaseholds, fixtures, deposit accounts,
                   commercial tort claims, securities accounts, instruments, investment, property,
                   letter-of-credit rights, supporting obligations, machinery and equipment, real
                   property, leases (and proceeds from the disposition thereof), other equity or
                   ownership interests, including equity interests in any subsidiaries and non-
                   wholly owned subsidiaries, money, investment property, and causes of action
                   (including causes of action arising other than, for purposes of this Fifth Interim
                   Order, avoidance actions and the proceeds thereof), and all products, proceeds
                   and supporting obligations of the foregoing, whether in existence on the Petition
                   Date or thereafter created, acquired, or arising and wherever located
                   (collectively, the “Postpetition Collateral”). The Adequate Protection Liens
                   shall be junior only to: (A) the Lender’s prepetition liens, and (B) other
                   unavoidable liens, if any, existing as of the Petition Date that are senior in
                   priority to the Lender’s prepetition liens; provided, however, that the Adequate
                   Protection Liens shall be subject to (x) a $10,000 carve-out for chapter 7
                   administration expenses to the extent necessary, (y) the Debtor’s payment of
                   fees incurred under 28 U.S.C. § 1930 and (z) statutory fees required to be paid
                   to the Clerk of the Court ((x) through (z), the “Carve-Out”).

                b. Superpriority Claim. To the extent provided by sections 503(b) and 507(b) of
                   the Bankruptcy Code, the Lender is hereby granted an allowed administrative
                   expense claim in the Case ahead of and senior to any and all other
                   administrative expense claims in the Case, with the exception of the Carve-Out,
                   to the extent of any Diminution (the “Superpriority Claim”).

                c. Inspection Rights. In addition to any and all rights the Lender has under its
                   prepetition loan documents (the “Prepetition Loan Documents”), upon
                   reasonable notice, the Debtor shall permit representatives, agents and
                   employees of the Lender to (i) have reasonable access to and inspect the
                   Debtor’s assets (which access shall not unreasonably interfere with the Debtor’s
                   operations at the Hotel), including without limitation the Hotel, the ballroom,
                   the rooftop, the water tower, all kitchens and common areas and a reasonable
                   number of unoccupied hotel rooms on the day of inspection and (ii) examine
                   the Debtor’s books and records. The Debtor shall also maintain records
                   regarding the sources and uses of all cash proceeds generated by the Debtor’s
                   business (including without limitation the payment of all expenses pursuant to
                   the Budget) and, upon request, in a timely fashion provide the Lender with
                   access to, and copies of, all such records.

                d. Reporting Rights. In addition to any and all rights the Lender has under the
                   Prepetition Loan Documents, the Debtor shall, reasonably promptly (but no

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                  later than the dates set forth below), provide the Lender and counsel to the
                  Lender with accurate current reporting of operating and financial information,
                  including:

                  i. monthly forward booking reports for all revenue outlets (rooms,
                     restaurant, banquet, etc.) due thirty (30) calendar days prior to the
                     reporting month;

                 ii. monthly bank statements due fifteen (15) business days following the end
                     of the reporting month;

                 iii. monthly income statements due fifteen (15) business days following the
                      end of the reporting month;

                 iv. monthly prepaid revenue reports due fifteen (15) business days following
                     the end of the reporting month;

                  v. monthly accounts receivable reports due fifteen (15) business days
                     following the end of the reporting month;

                 vi. monthly accounts payable reports due fifteen (15) business days following
                     the end of the reporting month;

                vii. monthly report of position-by-position personnel expense with
                     compensation reports due fifteen (15) business days following the end of
                     the reporting month;

                viii. monthly report of staffing changes with respect to “salaried” staff for each
                      month with support due thirty (30) calendar days after the reporting
                      month;

                 ix. monthly forecast of real estate and other taxes due thirty (30) calendar
                     days prior to the reporting month;

                  x. monthly STR Reports due ten (10) business days following Debtor’s
                     receipt of the report;

                 xi. weekly reports of (i) revenues, (ii) expenses, and (iii) budget variance
                     comparing the Debtor’s actual expenses as compared to the Debtor’s
                     budget projections, due (30) calendar days after the reporting month
                     starting with the May reporting month; and

                xii. copies of monthly operating reports required by the United States Trustee
                     and copies of all other materials provided to the United States Trustee due
                     within two (2) business days of providing such materials to the United
                     States Trustee (collectively, the “Reports”).

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                 e. Insurance. The Debtor shall maintain all necessary insurance as required under
                    the Prepetition Loan Documents, naming the Lender as a notice party and
                    additional insured, and shall promptly provide the Lender with proofs of such
                    insurance for the Hotel (including the Lender’s collateral) and copies of all
                    documents related to any insurance premium financing arrangement the Debtor
                    may have.

                 f. Excess Cash Account. The Debtor shall deposit all cash it collects from the
                    Petition Date in excess of its expenditures into the segregated debtor-in-
                    possession bank account established with TD Bank as depository (the “DIP
                    Bank Account”) and shall maintain such cash in the DIP Bank Account until
                    further order of the Court. For the avoidance of doubt, the Lender’s security
                    interests in and liens on the Cash Collateral shall extend to the cash in the DIP
                    Bank Account, and such liens shall be automatically perfected without the need
                    to execute any security or control agreements.

                 4.     The following events shall each constitute an event of default hereunder

(each, an “Event of Default”): (i) the Debtor’s failure to comply with any of the terms of this Fifth

Interim Order (including compliance with the Budget); (ii) the obtaining of credit or incurring of

indebtedness outside of the ordinary course of business that is either secured by a security interest

or lien that is equal or senior to any security interest or lien of the Lender or entitled to priority

administrative status that is equal or senior to that granted to the Lender; and (iii) entry of an order

by the Court granting relief from or modifying the automatic stay under section 362 of the

Bankruptcy Code to allow a creditor to execute upon or enforce a lien or security interest in any

collateral that would have a material adverse effect on the business, operations, property or assets

of the Debtor.

                 5.     The automatic stay is hereby modified solely to the extent necessary to

permit the Debtor to take all actions necessary to implement this Fifth Interim Order.

                 6.     Nothing herein shall impair or modify the application of section 507(b) of

the Bankruptcy Code in the event that the adequate protection provided to the Lender hereunder is

insufficient to compensate for any Diminution. Nothing contained herein shall be deemed a

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finding by the Court, or an acknowledgment by the Lender that the adequate protection granted

herein does in fact adequately protect the Lender against any Diminution.

                7.      This Fifth Interim Order is without prejudice to the rights of the Lender to

seek a modification of this Fifth Interim Order, including a request for additional adequate

protection or the termination of the Debtor’s right to use Cash Collateral, after notice and a hearing,

including a hearing noticed on an emergency basis, or the Debtor’s right to oppose such relief.

The Lender has expressly reserved, and this Fifth Interim Order is without prejudice to, any and

all rights and remedies of the Lender, including as to the appropriateness of any adequate

protection that may be proposed in connection with any authorization to use Cash Collateral after

the Interim Period. The Debtor expressly reserves the right to seek the use of Cash Collateral

beyond the Interim Period, and the Lender reserves the right to oppose such relief.

                8.      Notwithstanding applicability of any Bankruptcy Rules, the terms and

conditions of this Fifth Interim Order shall be immediately effective and enforceable upon its entry.

                9.      The Court has and will retain jurisdiction to enforce this Fifth Interim Order

in accordance with its terms and to adjudicate any and all matters arising from or related to the

interpretation or implementation of this Fifth Interim Order.

                10.     The Final Hearing to further consider approval of the use of Cash Collateral

on an interim basis, shall be held on _______________, 2021 at 10:00 a.m. at the United States

Bankruptcy Court for the Southern District of New York, before the Honorable Robert D. Drain,

United States Bankruptcy Judge.

                11.     Any party who wishes to attend the Final Hearing, which will be a

Zoom.gov         hearing,      is      required       to      make        arrangements        through

http://www.nysb.uscourts.gov/ecourt-appearances.



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Dated: August ___, 2021
       White Plains, New York

                                          ____________________________________
                                          HONORABLE ROBERT D. DRAIN
                                          UNITED STATES BANKRUPTCY JUDGE




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                                                                                                                              96 Wythe Acquisition LLC
                                                                                                                        9- Week Budget - Cash Collateral Motion


                                                  Sep-21 (8/30 to 9/5)   Sep-21 (9/6 to 9/12)   Sep-21 (9/13 to 9/19)       Sep-21 (9/20 to 9/26)    Sep-21 (9/27 to 10/3)   Oct-21 (10/4 to 10/10)   Oct-21 (10/11 to 10/17)   Oct-21 (10/18 to 10/24)   Oct-21 (10/25 to 10/31)
                                                     PTD           %        PTD           %        PTD           %             PTD           %          PTD           %          PTD          %           PTD          %            PTD          %            PTD          %

Number of Rooms                                          147                    147                    147                         147                      147                     147                      147                       147                       147
Days                                                       7                      7                      7                           7                        7                       7                        7                         7                         7
Available Rooms                                        1,029                  1,029                  1,029                       1,029                    1,029                   1,029                    1,029                     1,029                     1,029
Occupied Rooms                                           772                    756                    761                         772                      767                     797                      803                       782                       772
Occupancy Percent                                     75.00%                 73.50%                 74.00%                      75.00%                   74.50%                  77.50%                   78.00%                    76.00%                    75.00%
Average Daily Rate                                   $345.00                $335.00                $332.50                     $342.50                  $345.00                 $347.50                  $330.00                   $350.00                   $352.50
RevPAR                                               $258.75                $246.23                $246.05                     $256.88                  $257.03                 $269.31                  $257.40                   $266.00                   $264.38

Revenue
 Rooms                                              $266,254 65.65%        $253,366 65.43%        $253,185 66.27%             $264,324 67.16%          $264,479 68.04%         $277,123 70.73%          $264,865 71.75%           $273,714 70.49%           $272,042 67.75%
 Food & Beverage                                    $130,000 32.05%        $125,000 32.28%        $120,000 31.41%             $120,000 30.49%          $115,000 29.58%         $105,000 26.80%           $95,000 25.74%           $105,000 27.04%           $120,000 29.88%
 Rental & Other Income                                $9,319  2.30%          $8,868  2.29%          $8,861  2.32%               $9,251  2.35%            $9,257  2.38%           $9,699  2.48%            $9,270  2.51%             $9,580  2.47%             $9,521  2.37%
Gross Revenue                                       $405,573 100.00%       $387,233 100.00%       $382,047 100.00%            $393,576 100.00%         $388,735 100.00%        $391,822 100.00%         $369,135 100.00%          $388,294 100.00%          $401,563 100.00%

Department Expenses
 Rooms
   Payroll
       Salaries & Wages                              $43,282    16.26%      $41,671    16.45%      $41,648    16.45%           $43,041    16.28%        $43,060    16.28%       $44,640    16.11%        $43,108    16.28%         $44,214    16.15%         $44,005    16.18%
       Payroll Taxes                                  $4,977     1.87%       $4,792     1.89%       $4,790     1.89%            $4,950     1.87%         $4,952     1.87%        $5,134     1.85%         $4,957     1.87%          $5,085     1.86%          $5,061     1.86%
       Employee Benefits                              $3,246     1.22%       $3,125     1.23%       $3,124     1.23%            $3,228     1.22%         $3,229     1.22%        $3,348     1.21%         $3,233     1.22%          $3,316     1.21%          $3,300     1.21%
       Contract Labor                                   $666     0.25%         $633     0.25%         $633     0.25%              $661     0.25%           $661     0.25%          $693     0.25%           $662     0.25%            $684     0.25%            $680     0.25%
   Total Payroll                                     $52,171    19.59%      $50,222    19.82%      $50,194    19.83%           $51,879    19.63%        $51,902    19.62%       $53,815    19.42%        $51,961    19.62%         $53,299    19.47%         $53,046    19.50%

   Other Expenses
       Allocated F&B Payroll                          $2,823     1.06%       $2,738     1.08%       $2,652     1.05%            $2,652     1.00%         $2,567     0.97%        $2,396     0.86%         $2,225     0.84%          $2,396     0.88%          $2,652     0.97%
       Amenities & Supplies                           $4,659     1.75%       $4,434     1.75%       $4,431     1.75%            $4,626     1.75%         $4,628     1.75%        $4,850     1.75%         $4,635     1.75%          $4,790     1.75%          $4,761     1.75%
       Dues, Subscriptions & Services                 $1,997     0.75%       $1,900     0.75%       $1,899     0.75%            $1,982     0.75%         $1,984     0.75%        $2,078     0.75%         $1,986     0.75%          $2,053     0.75%          $2,040     0.75%
       Linen & Uniforms - Laundry & Replacement      $10,650     4.00%      $10,135     4.00%      $10,127     4.00%           $10,573     4.00%        $10,579     4.00%       $11,085     4.00%        $10,595     4.00%         $10,949     4.00%         $10,882     4.00%
       Travel Agent Commissions                      $26,625    10.00%      $25,337    10.00%      $25,319    10.00%           $26,432    10.00%        $26,448    10.00%       $27,712    10.00%        $26,486    10.00%         $27,371    10.00%         $27,204    10.00%
   Total Other Expenses                              $46,755    17.56%      $44,543    17.58%      $44,428    17.55%           $46,266    17.50%        $46,205    17.47%       $48,121    17.36%        $45,927    17.34%         $47,558    17.38%         $47,539    17.47%

 Total Rooms                                         $98,926    37.15%      $94,764    37.40%      $94,622    37.37%           $98,145    37.13%        $98,108    37.09%      $101,936    36.78%        $97,888    36.96%        $100,858    36.85%        $100,585    36.97%

 Food & Beverage
   Payroll
       Salaries & Wages                              $47,050 36.19%         $45,625 36.50%         $44,200 36.83%              $44,200 36.83%           $42,775 37.20%          $39,925 38.02%           $37,075 39.03%            $39,925 38.02%            $44,200 36.83%
       Payroll Taxes                                  $5,881   4.52%         $5,703   4.56%         $5,525   4.60%              $5,525   4.60%           $5,347   4.65%          $4,991   4.75%           $4,634   4.88%            $4,991   4.75%            $5,525   4.60%
       Employee Benefits                              $2,823   2.17%         $2,738   2.19%         $2,652   2.21%              $2,652   2.21%           $2,567   2.23%          $2,396   2.28%           $2,225   2.34%            $2,396   2.28%            $2,652   2.21%
       Contract Labor                                 $1,300   1.00%         $1,250   1.00%         $1,200   1.00%              $1,200   1.00%           $1,150   1.00%          $1,050   1.00%             $950   1.00%            $1,050   1.00%            $1,200   1.00%
       Allocated to Other Departments                ($5,054) -3.89%        ($4,867) -3.89%        ($4,753) -3.96%             ($4,817) -4.01%          ($4,705) -4.09%         ($4,551) -4.33%          ($4,255) -4.48%           ($4,531) -4.32%           ($4,861) -4.05%
   Total Payroll                                     $52,001 40.00%         $50,448 40.36%         $48,824 40.69%              $48,760 40.63%           $47,134 40.99%          $43,811 41.72%           $40,629 42.77%            $43,830 41.74%            $48,716 40.60%

   Other Expenses
       Cost of Goods Sold                            $31,200    24.00%      $30,000    24.00%      $28,800    24.00%           $28,800    24.00%        $27,600    24.00%       $25,200    24.00%        $23,000    24.21%         $25,200    24.00%         $28,800    24.00%
       Equipment, Supplies & Services                $14,300    11.00%      $13,750    11.00%      $13,200    11.00%           $13,200    11.00%        $12,650    11.00%       $11,550    11.00%        $10,450    11.00%         $11,550    11.00%         $13,200    11.00%
       Marketing & Promotion                         $12,350     9.50%      $11,875     9.50%      $11,400     9.50%           $11,400     9.50%        $10,925     9.50%        $9,975     9.50%         $9,025     9.50%          $9,975     9.50%         $11,400     9.50%
   Total Other Expenses                              $57,850    44.50%      $55,625    44.50%      $53,400    44.50%           $53,400    44.50%        $51,175    44.50%       $46,725    44.50%        $42,475    44.71%         $46,725    44.50%         $53,400    44.50%

 Total Food & Beverage                              $109,851    84.50%     $106,073    84.86%     $102,224    85.19%          $102,160    85.13%        $98,309    85.49%       $90,536    86.22%        $83,104    87.48%         $90,555    86.24%        $102,116    85.10%

Total Departmental Expenses                         $208,776    51.48%     $200,838    51.86%     $196,846    51.52%          $200,305    50.89%       $196,417    50.53%      $192,471    49.12%       $180,992    49.03%        $191,413    49.30%        $202,702    50.48%

Departmental Profit
   Rooms                                            $167,328 62.85%        $158,601 62.60%        $158,564 62.63%             $166,180 62.87%          $166,371 62.91%         $175,187 63.22%          $166,977 63.04%           $172,856 63.15%           $171,457 63.03%
   Food & Beverage                                   $20,149 15.50%         $18,927 15.14%         $17,776 14.81%              $17,840 14.87%           $16,691 14.51%          $14,464 13.78%           $11,896 12.52%            $14,445 13.76%            $17,884 14.90%
   Rentals & Other Income                             $9,319 100.00%         $8,868 100.00%         $8,861 100.00%              $9,251 100.00%           $9,257 100.00%          $9,699 100.00%           $9,270 100.00%            $9,580 100.00%            $9,521 100.00%
Gross Operated Income                               $196,796 48.52%        $186,396 48.14%        $185,201 48.48%             $193,271 49.11%          $192,319 49.47%         $199,351 50.88%          $188,143 50.97%           $196,881 50.70%           $198,862 49.52%




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                                                                                         21-22108-rdd     Doc 108-1       Filed 09/09/21 Entered 09/09/21 13:39:00                Exhibit A -
                                                                                                                         Proposed  Order Pg Hotel
                                                                                                                           The Williamsburg 11 of 21
                                                                                                                               96 Wythe Acquisition LLC
                                                                                                                         9- Week Budget - Cash Collateral Motion


                                                   Sep-21 (8/30 to 9/5)   Sep-21 (9/6 to 9/12)   Sep-21 (9/13 to 9/19)       Sep-21 (9/20 to 9/26)    Sep-21 (9/27 to 10/3)   Oct-21 (10/4 to 10/10)   Oct-21 (10/11 to 10/17)   Oct-21 (10/18 to 10/24)   Oct-21 (10/25 to 10/31)
                                                      PTD           %        PTD           %        PTD           %             PTD           %          PTD           %          PTD          %           PTD          %            PTD          %            PTD          %
General Hotel Expenses
 Administrative and General
   Payroll
       Payroll                                        $39,472    9.73%       $39,223    10.13%      $39,153    10.25%           $39,309    9.99%         $39,243    10.10%       $39,285    10.03%        $38,977    10.56%         $39,237    10.11%         $39,418    9.82%
       Allocated F&B Payroll                             $811    0.20%          $774     0.20%         $764     0.20%              $787    0.20%            $777     0.20%          $784     0.20%           $738     0.20%            $777     0.20%            $803    0.20%
       Banking & CC Processing Fees                   $11,356    2.80%       $10,843     2.80%      $10,697     2.80%           $11,020    2.80%         $10,885     2.80%       $10,971     2.80%        $10,336     2.80%         $10,872     2.80%         $11,244    2.80%
       Admin & General Expenses                        $9,734    2.40%        $9,294     2.40%       $9,169     2.40%            $9,446    2.40%          $9,330     2.40%        $9,404     2.40%         $8,859     2.40%          $9,319     2.40%          $9,638    2.40%
       Professional Fees (US Trustee)                  $3,125    0.77%        $3,026     0.78%       $2,986     0.78%            $3,033    0.77%          $2,986     0.77%        $2,960     0.76%         $2,829     0.77%          $2,942     0.76%          $3,054    0.76%
       Bankruptcy Professional Fees                    $5,000    1.23%        $5,000     1.29%       $5,000     1.31%            $5,000    1.27%         $10,000     2.57%       $10,000     2.55%        $10,000     2.71%         $10,000     2.58%         $10,000    2.49%
 Total Administrative & General                       $69,498    17.14%      $68,160    17.60%      $67,769    17.74%           $68,595    17.43%        $73,222    18.84%       $73,404    18.73%        $71,739    19.43%         $73,147    18.84%         $74,156    18.47%

 Information & Telecom
        Cost of Phone & Internet Services              $1,420     0.35%       $1,355     0.35%       $1,337    0.35%             $1,378    0.35%           $1,361   0.35%         $1,371     0.35%         $1,292    0.35%           $1,359    0.35%           $1,405    0.35%
        System Expenses                                $4,056     1.00%       $3,872     1.00%       $3,820    1.00%             $3,936    1.00%           $3,887   1.00%         $3,918     1.00%         $3,691    1.00%           $3,883    1.00%           $4,016    1.00%
        Dues, Subscriptions, Supplies & Services       $2,028     0.50%       $1,936     0.50%       $1,910    0.50%             $1,968    0.50%           $1,944   0.50%         $1,959     0.50%         $1,846    0.50%           $1,941    0.50%           $2,008    0.50%
 Total Information & Telecom                           $7,503     1.85%       $7,164     1.85%       $7,068    1.85%             $7,281    1.85%           $7,192   1.85%         $7,249     1.85%         $6,829    1.85%           $7,183    1.85%           $7,429    1.85%

 Sales & Marketing
   Payroll
       Payroll                                        $14,081     3.47%      $13,954     3.60%      $13,918    3.64%            $13,998    3.56%         $13,964    3.59%        $13,986     3.57%        $13,828    3.75%          $13,961    3.60%          $14,053    3.50%
       Allocated F&B Payroll                             $608     0.15%         $581     0.15%         $573    0.15%               $590    0.15%            $583    0.15%           $588     0.15%           $554    0.15%             $582    0.15%             $602    0.15%
       Dues, Subscriptions & Services                  $5,070     1.25%       $4,260     1.10%       $4,203    1.10%             $4,329    1.10%          $4,276    1.10%         $4,310     1.10%         $4,060    1.10%           $4,271    1.10%           $4,417    1.10%
       Marketing                                       $8,517     2.10%       $8,132     2.10%       $8,023    2.10%             $8,265    2.10%          $8,163    2.10%         $8,228     2.10%         $7,752    2.10%           $8,154    2.10%           $8,433    2.10%
 Total Sales & Marketing                              $28,276     6.97%      $26,926     6.95%      $26,716    6.99%            $27,183    6.91%         $26,987    6.94%        $27,112     6.92%        $26,194    7.10%          $26,969    6.95%          $27,506    6.85%

 Property Operations & Maintenance
   Payroll
       Payroll                                        $19,315     4.76%      $18,970     4.90%      $18,873    4.94%            $19,089    4.85%         $18,999    4.89%        $19,056     4.86%        $18,631    5.05%          $18,990    4.89%          $19,239    4.79%
       Allocated F&B Payroll                             $811     0.20%         $774     0.20%         $764    0.20%               $787    0.20%            $777    0.20%           $784     0.20%           $738    0.20%             $777    0.20%             $803    0.20%
       Repairs & Maintenance                          $13,111     3.23%      $12,745     3.29%      $12,641    3.31%            $12,872    3.27%         $12,386    3.19%        $12,445     3.18%        $12,014    3.25%          $12,183    3.14%          $12,429    3.10%
       Supplies                                        $6,320     1.56%       $6,090     1.57%       $6,026    1.58%             $6,170    1.57%          $5,609    1.44%         $5,648     1.44%         $5,114    1.39%           $5,354    1.38%           $5,520    1.37%
 Total Property Operations & Maintenance              $39,557     9.75%      $38,580     9.96%      $38,304    10.03%           $38,918    9.89%         $37,771    9.72%        $37,932     9.68%        $36,497    9.89%          $37,304    9.61%          $37,991    9.46%

 Utility Costs                                        $11,153     2.75%      $10,649     2.75%      $10,506    2.75%            $10,823    2.75%         $10,690    2.75%        $10,775     2.75%        $10,151    2.75%          $10,678    2.75%          $11,043    2.75%

Total Undistributed Expenses                         $155,988    38.46%     $151,478    39.12%     $150,363    39.36%          $152,800    38.82%       $155,861    40.09%      $156,472    39.93%       $151,409    41.02%        $155,282    39.99%        $158,125    39.38%

Gross Operating Profit                                $40,808    10.06%      $34,917     9.02%      $34,839    9.12%            $40,471    10.28%        $36,458    9.38%        $42,879    10.94%        $36,734    9.95%          $41,600    10.71%         $40,737    10.14%

  Management Fee                                           $0     0.00%           $0     0.00%           $0    0.00%                 $0     0.00%             $0    0.00%             $0     0.00%             $0    0.00%               $0     0.00%              $0     0.00%
Income Before Fixed Charges                           $40,808    10.06%      $34,917     9.02%      $34,839    9.12%            $40,471    10.28%        $36,458    9.38%        $42,879    10.94%        $36,734    9.95%          $41,600    10.71%         $40,737    10.14%

Fixed Charges
  Property Taxes                                      $30,000     7.40%      $30,000     7.75%      $30,000    7.85%            $30,000    7.62%         $30,000    7.72%        $30,000     7.66%        $30,000    8.13%          $30,000    7.73%          $30,000    7.47%
  Total Insurance                                      $4,000     0.99%       $4,000     1.03%       $4,000    1.05%             $4,000    1.02%          $4,000    1.03%         $4,000     1.02%         $4,000    1.08%           $4,000    1.03%           $4,000    1.00%
Total Fixed Charges                                   $34,000     8.38%      $34,000     8.78%      $34,000    8.90%            $34,000    8.64%         $34,000    8.75%        $34,000     8.68%        $34,000    9.21%          $34,000    8.76%          $34,000    8.47%

EBITDA                                                 $6,808     1.68%         $917     0.24%          $839   0.22%             $6,471    1.64%           $2,458   0.63%         $8,879     2.27%         $2,734    0.74%           $7,600    1.96%           $6,737    1.68%




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                                                                                         21-22108-rdd      Doc 108-1          Filed 09/09/21 Entered 09/09/21 13:39:00                  Exhibit A -
                                                                                                                             Proposed  Order Pg Hotel
                                                                                                                               The Williamsburg 12 of 21
                                                                                                                                   96 Wythe Acquisition LLC
                                                                                                                             9- Week Budget - Cash Collateral Motion


                                                  Nov-21 (11/1 to 11/7)   Nov-21 (11/8 to 11/14)   Nov-21 (11/15 to 11/21)       Nov-21 (11/22 to 11/28)   Dec-21 (11/29 to 12/5)   Dec-21 (12/6 to 12/12)   Dec-21 (12/13 to 12/19)   Dec-21 (12/20 to 12/26)   Dec-21 (12/27 to 1/2)
                                                     PTD           %         PTD           %          PTD          %                PTD          %            PTD           %          PTD           %          PTD           %           PTD           %           PTD           %

Number of Rooms                                          147                     147                      147                           147                       147                      147                      147                       147                       147
Days                                                       7                       7                        7                             7                         7                        7                        7                         7                         7
Available Rooms                                        1,029                   1,029                    1,029                         1,029                     1,029                    1,029                    1,029                     1,029                     1,029
Occupied Rooms                                           844                     839                      813                           746                       839                      823                      808                       736                       746
Occupancy Percent                                     82.00%                  81.50%                   79.00%                        72.50%                    81.50%                   80.00%                   78.50%                    71.50%                    72.50%
Average Daily Rate                                   $265.00                 $257.50                  $247.50                       $255.00                   $260.00                  $270.00                  $265.00                   $252.50                   $300.00
RevPAR                                               $217.30                 $209.86                  $195.53                       $184.88                   $211.90                  $216.00                  $208.03                   $180.54                   $217.50

Revenue
 Rooms                                              $223,602 74.80%         $215,949 72.95%          $201,195 72.31%               $190,236 71.95%           $218,045 74.37%          $222,264 73.47%          $214,058 73.42%           $185,773 68.86%           $223,808 69.58%
 Food & Beverage                                     $67,500 22.58%          $72,500 24.49%           $70,000 25.16%                $67,500 25.53%            $67,500 23.02%           $72,500 23.96%           $70,000 24.01%            $77,500 28.73%            $90,000 27.98%
 Rental & Other Income                                $7,826  2.62%           $7,558  2.55%            $7,042  2.53%                 $6,658  2.52%             $7,632  2.60%            $7,779  2.57%            $7,492  2.57%             $6,502  2.41%             $7,833  2.44%
Gross Revenue                                       $298,928 100.00%        $296,007 100.00%         $278,237 100.00%              $264,395 100.00%          $293,177 100.00%         $302,543 100.00%         $291,550 100.00%          $269,775 100.00%          $321,641 100.00%

Department Expenses
 Rooms
   Payroll
       Salaries & Wages                              $37,950    16.97%       $36,994    17.13%        $35,149   17.47%              $32,780   17.23%          $37,256    17.09%        $37,783    17.00%        $36,757    17.17%         $32,222    17.34%         $37,976    16.97%
       Payroll Taxes                                  $4,364     1.95%        $4,254     1.97%         $4,042    2.01%               $3,770    1.98%           $4,284     1.96%         $4,345     1.95%         $4,227     1.97%          $3,705     1.99%          $4,367     1.95%
       Employee Benefits                              $2,846     1.27%        $2,775     1.28%         $2,636    1.31%               $2,458    1.29%           $2,794     1.28%         $2,834     1.27%         $2,757     1.29%          $2,417     1.30%          $2,848     1.27%
       Contract Labor                                   $559     0.25%          $540     0.25%           $503    0.25%                 $476    0.25%             $545     0.25%           $556     0.25%           $535     0.25%            $464     0.25%            $560     0.25%
   Total Payroll                                     $45,720    20.45%       $44,562    20.64%        $42,331   21.04%              $39,483   20.75%          $44,879    20.58%        $45,517    20.48%        $44,276    20.68%         $38,808    20.89%         $45,751    20.44%

   Other Expenses
       Allocated F&B Payroll                          $1,754     0.78%        $1,840     0.85%         $1,701    0.85%               $1,659    0.87%           $1,679     0.77%         $1,743     0.78%         $1,701     0.79%          $1,827     0.98%          $2,037     0.91%
       Amenities & Supplies                           $3,913     1.75%        $3,779     1.75%         $3,521    1.75%               $3,329    1.75%           $3,816     1.75%         $3,890     1.75%         $3,746     1.75%          $2,787     1.50%          $3,917     1.75%
       Dues, Subscriptions & Services                 $2,236     1.00%        $2,159     1.00%         $1,710    0.85%               $1,427    0.75%           $1,853     0.85%         $1,889     0.85%         $1,819     0.85%          $1,393     0.75%          $1,902     0.85%
       Linen & Uniforms - Laundry & Replacement       $8,944     4.00%        $8,638     4.00%         $8,048    4.00%               $6,658    3.50%           $9,267     4.25%         $8,891     4.00%         $8,562     4.00%          $6,502     3.50%          $8,952     4.00%
       Travel Agent Commissions                      $22,360    10.00%       $21,595    10.00%        $20,120   10.00%              $18,072    9.50%          $22,895    10.50%        $22,226    10.00%        $21,406    10.00%         $17,648     9.50%         $23,500    10.50%
   Total Other Expenses                              $39,208    17.53%       $38,011    17.60%        $35,099   17.45%              $31,146   16.37%          $39,510    18.12%        $38,639    17.38%        $37,235    17.39%         $30,157    16.23%         $40,308    18.01%

 Total Rooms                                         $84,927    37.98%       $82,573    38.24%        $77,430   38.49%              $70,629   37.13%          $84,389    38.70%        $84,156    37.86%        $81,511    38.08%         $68,966    37.12%         $86,059    38.45%

 Food & Beverage
   Payroll
       Salaries & Wages                              $29,238 43.31%          $30,663 42.29%           $28,350 40.50%                $27,650 40.96%            $27,988 41.46%           $29,050 40.07%           $28,350 40.50%            $30,450 39.29%            $33,950 37.72%
       Payroll Taxes                                  $3,655   5.41%          $3,833   5.29%           $3,544   5.06%                $3,456   5.12%            $3,498   5.18%           $3,631   5.01%           $3,544   5.06%            $3,806   4.91%            $4,244   4.72%
       Employee Benefits                              $1,754   2.60%          $1,840   2.54%           $1,701   2.43%                $1,659   2.46%            $1,679   2.49%           $1,743   2.40%           $1,701   2.43%            $1,827   2.36%            $2,037   2.26%
       Contract Labor                                   $675   1.00%            $725   1.00%             $700   1.00%                  $675   1.00%              $675   1.00%             $725   1.00%             $700   1.00%              $775   1.00%              $900   1.00%
       Allocated to Other Departments                ($3,398) -5.03%         ($3,468) -4.78%          ($3,231) -4.62%               ($3,113) -4.61%           ($3,292) -4.88%          ($3,407) -4.70%          ($3,305) -4.72%           ($3,311) -4.27%           ($3,806) -4.23%
   Total Payroll                                     $31,923 47.29%          $33,592 46.33%           $31,063 44.38%                $30,327 44.93%            $30,548 45.26%           $31,742 43.78%           $30,990 44.27%            $33,547 43.29%            $37,325 41.47%

   Other Expenses
       Cost of Goods Sold                            $16,538    24.50%       $17,763    24.50%        $17,150   24.50%              $16,538   24.50%          $16,538    24.50%        $17,763    24.50%        $17,150    24.50%         $18,988    24.50%         $22,050    24.50%
       Equipment, Supplies & Services                 $7,425    11.00%        $7,975    11.00%         $7,700   11.00%               $6,750   10.00%           $7,425    11.00%         $7,975    11.00%         $7,700    11.00%          $7,750    10.00%          $9,900    11.00%
       Marketing & Promotion                          $6,413     9.50%        $6,888     9.50%         $6,650    9.50%               $6,413    9.50%           $6,413     9.50%         $6,888     9.50%         $6,650     9.50%          $7,363     9.50%          $9,450    10.50%
   Total Other Expenses                              $30,375    45.00%       $32,625    45.00%        $31,500   45.00%              $29,700   44.00%          $30,375    45.00%        $32,625    45.00%        $31,500    45.00%         $34,100    44.00%         $41,400    46.00%

 Total Food & Beverage                               $62,298    92.29%       $66,217    91.33%        $62,563   89.38%              $60,027   88.93%          $60,923    90.26%        $64,367    88.78%        $62,490    89.27%         $67,647    87.29%         $78,725    87.47%

Total Departmental Expenses                         $147,225    49.25%      $148,791    50.27%       $139,994   50.31%             $130,656   49.42%         $145,313    49.56%       $148,524    49.09%       $144,001    49.39%        $136,613    50.64%        $164,784    51.23%

Departmental Profit
   Rooms                                            $138,674 62.02%         $133,375 61.76%          $123,765 61.51%               $119,607 62.87%           $133,656 61.30%          $138,108 62.14%          $132,547 61.92%           $116,808 62.88%           $137,749 61.55%
   Food & Beverage                                    $5,202  7.71%           $6,283  8.67%            $7,437 10.62%                 $7,473 11.07%             $6,577  9.74%            $8,133 11.22%            $7,510 10.73%             $9,853 12.71%            $11,275 12.53%
   Rentals & Other Income                             $7,826 100.00%          $7,558 100.00%           $7,042 100.00%                $6,658 100.00%            $7,632 100.00%           $7,779 100.00%           $7,492 100.00%            $6,502 100.00%            $7,833 100.00%
Gross Operated Income                               $151,702 50.75%         $147,216 49.73%          $138,243 49.69%               $133,739 50.58%           $147,864 50.44%          $154,020 50.91%          $147,549 50.61%           $133,162 49.36%           $156,857 48.77%




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                                                                                                                              Proposed  Order Pg Hotel
                                                                                                                                The Williamsburg 13 of 21
                                                                                                                                    96 Wythe Acquisition LLC
                                                                                                                              9- Week Budget - Cash Collateral Motion


                                                   Nov-21 (11/1 to 11/7)   Nov-21 (11/8 to 11/14)   Nov-21 (11/15 to 11/21)       Nov-21 (11/22 to 11/28)   Dec-21 (11/29 to 12/5)   Dec-21 (12/6 to 12/12)   Dec-21 (12/13 to 12/19)   Dec-21 (12/20 to 12/26)   Dec-21 (12/27 to 1/2)
                                                      PTD           %         PTD           %          PTD          %                PTD          %            PTD           %          PTD           %          PTD           %           PTD           %           PTD           %
General Hotel Expenses
 Administrative and General
   Payroll
       Payroll                                        $38,023    12.72%       $37,984    12.83%        $36,507   13.12%              $35,993   13.61%          $36,710    12.52%        $36,838    12.18%        $36,688    12.58%         $36,059    13.37%         $37,097    11.53%
       Allocated F&B Payroll                             $598     0.20%          $592     0.20%           $556    0.20%                 $529    0.20%             $586     0.20%           $605     0.20%           $583     0.20%            $540     0.20%            $643     0.20%
       Banking & CC Processing Fees                    $8,370     2.80%        $8,288     2.80%         $7,791    2.80%               $7,271    2.75%           $8,209     2.80%         $8,471     2.80%         $8,163     2.80%          $7,554     2.80%          $9,006     2.80%
       Admin & General Expenses                        $7,174     2.40%        $7,104     2.40%         $6,678    2.40%               $5,949    2.25%           $7,329     2.50%         $7,261     2.40%         $6,997     2.40%          $6,340     2.35%          $7,880     2.45%
       Professional Fees (US Trustee)                  $2,280     0.76%        $2,287     0.77%         $2,154    0.77%               $2,038    0.77%           $2,270     0.77%         $2,317     0.77%         $2,253     0.77%          $2,131     0.79%          $2,483     0.77%
       Bankruptcy Professional Fees                    $5,000     1.67%        $5,000     1.69%         $5,000    1.80%               $5,000    1.89%           $5,000     1.71%         $5,000     1.65%         $5,000     1.71%              $0     0.00%          $5,000     1.55%
 Total Administrative & General                       $61,445    20.56%       $61,255    20.69%        $58,686   21.09%              $56,779   21.48%          $60,105    20.50%        $60,491    19.99%        $59,685    20.47%         $52,623    19.51%         $62,110    19.31%

 Information & Telecom
        Cost of Phone & Internet Services              $1,046    0.35%         $1,036    0.35%            $974    0.35%                 $925    0.35%           $1,026    0.35%          $1,059    0.35%          $1,020    0.35%             $944    0.35%           $1,126    0.35%
        System Expenses                                $2,989    1.00%         $2,960    1.00%          $2,782    1.00%               $2,644    1.00%           $2,932    1.00%          $3,025    1.00%          $2,915    1.00%           $2,698    1.00%           $3,216    1.00%
        Dues, Subscriptions, Supplies & Services       $1,495    0.50%         $1,480    0.50%          $1,391    0.50%               $1,322    0.50%           $1,466    0.50%          $1,513    0.50%          $1,458    0.50%           $1,349    0.50%           $1,608    0.50%
 Total Information & Telecom                           $5,530    1.85%         $5,476    1.85%          $5,147    1.85%               $4,891    1.85%           $5,424    1.85%          $5,597    1.85%          $5,394    1.85%           $4,991    1.85%           $5,950    1.85%

 Sales & Marketing
   Payroll
       Payroll                                        $13,339    4.46%        $13,318    4.50%         $13,195    4.74%              $13,098    4.95%          $13,299    4.54%         $13,364    4.42%         $13,287    4.56%          $13,136    4.87%          $13,497    4.20%
       Allocated F&B Payroll                             $448    0.15%           $444    0.15%            $417    0.15%                 $397    0.15%             $440    0.15%            $454    0.15%            $437    0.15%             $405    0.15%             $482    0.15%
       Dues, Subscriptions & Services                  $3,288    1.10%         $3,256    1.10%          $2,782    1.00%               $2,644    1.00%           $2,932    1.00%          $3,025    1.00%          $2,915    1.00%           $2,698    1.00%           $3,216    1.00%
       Marketing                                       $6,277    2.10%         $6,216    2.10%          $5,843    2.10%               $5,288    2.00%           $6,157    2.10%          $6,353    2.10%          $6,123    2.10%           $5,396    2.00%           $6,915    2.15%
 Total Sales & Marketing                              $23,353    7.81%        $23,235    7.85%         $22,237    7.99%              $21,427    8.10%          $22,827    7.79%         $23,197    7.67%         $22,763    7.81%          $21,634    8.02%          $24,111    7.50%

 Property Operations & Maintenance
   Payroll
       Payroll                                        $16,727    5.60%        $16,673    5.63%         $16,339   5.87%               $15,770   5.96%           $16,619    5.67%         $16,795    5.55%         $16,589    5.69%          $15,572    5.77%          $17,154    5.33%
       Allocated F&B Payroll                             $598    0.20%           $592    0.20%            $556   0.20%                  $529   0.20%              $586    0.20%            $605    0.20%            $583    0.20%             $540    0.20%             $643    0.20%
       Repairs & Maintenance                          $10,979    3.67%        $10,920    3.69%          $8,478   3.05%                $7,908   2.99%            $9,398    3.21%         $10,295    3.40%          $9,373    3.21%           $7,698    2.85%          $10,950    3.40%
       Supplies                                        $4,987    1.67%         $4,950    1.67%          $4,311   1.55%                $3,894   1.47%            $4,915    1.68%          $5,334    1.76%          $4,894    1.68%           $3,948    1.46%           $5,431    1.69%
 Total Property Operations & Maintenance              $33,290    11.14%       $33,135    11.19%        $29,684   10.67%              $28,101   10.63%          $31,518    10.75%        $33,029    10.92%        $31,440    10.78%         $27,757    10.29%         $34,179    10.63%

 Utility Costs                                        $11,060    3.70%        $10,952    3.70%         $10,295    3.70%               $9,518    3.60%          $10,994    3.75%         $11,194    3.70%         $10,787    3.70%           $9,982    3.70%          $11,901    3.70%

Total Undistributed Expenses                         $134,679    45.05%      $134,053    45.29%       $126,050   45.30%             $120,716   45.66%         $130,868    44.64%       $133,508    44.13%       $130,069    44.61%        $116,986    43.36%        $138,251    42.98%

Gross Operating Profit                                $17,023    5.69%        $13,163    4.45%         $12,194    4.38%              $13,023    4.93%          $16,996    5.80%         $20,511    6.78%         $17,480    6.00%          $16,176    6.00%          $18,607    5.78%

  Management Fee                                           $0    0.00%             $0    0.00%              $0    0.00%                   $0    0.00%               $0    0.00%              $0    0.00%              $0    0.00%               $0    0.00%               $0    0.00%
Income Before Fixed Charges                           $17,023    5.69%        $13,163    4.45%         $12,194    4.38%              $13,023    4.93%          $16,996    5.80%         $20,511    6.78%         $17,480    6.00%          $16,176    6.00%          $18,607    5.78%

Fixed Charges
  Property Taxes                                      $10,356    3.46%        $10,356    3.50%         $10,356    3.72%              $10,356    3.92%          $10,356    3.53%         $10,356    3.42%         $10,356    3.55%          $10,356    3.84%          $10,356    3.22%
  Total Insurance                                          $0    0.00%             $0    0.00%              $0    0.00%                   $0    0.00%           $4,500    1.53%          $4,500    1.49%          $4,500    1.54%           $4,500    1.67%           $4,500    1.40%
Total Fixed Charges                                   $10,356    3.46%        $10,356    3.50%         $10,356    3.72%              $10,356    3.92%          $14,856    5.07%         $14,856    4.91%         $14,856    5.10%          $14,856    5.51%          $14,856    4.62%

EBITDA                                                 $6,668    2.23%         $2,807    0.95%          $1,838    0.66%               $2,667    1.01%           $2,140    0.73%          $5,656    1.87%          $2,624    0.90%           $1,320    0.49%           $3,751    1.17%




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
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              FIFTH INTERIM ORDER FOR USE OF CASH COLLATERAL                                          Deleted: FOURTH

       Upon the motion (the “Cash Collateral Motion”) for an order pursuant to § 363(c)(2)(B)

and 506(c) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 4001(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking the entry of an order

(A) authorizing 96 Wythe Acquisition LLC, the debtor and debtor in possession herein (the

“Debtor”) to use cash collateral, as that term is defined in §363(a) of the Bankruptcy Code (the

“Cash Collateral”) on an interim basis in accordance with the Budget annexed to the Cash

Collateral Motion as Exhibit A, pending a final hearing (B) granting adequate protection to Benefit

Street Partners Realty Operating Partnership, L.P. (the “Lender”) and scheduling a Final Hearing

(defined below) pursuant to Bankruptcy Rule 4001; and there being due and sufficient notice of

the Cash Collateral Motion and the First Interim Hearing, defined below; and upon this Court’s

prior orders dated March 5, 2021 [ECF No. 15] (the “First Interim Order”), March 19, 2021 [ECF

No. 21] (the “Second Interim Order”), April 21, 2021 [ECF No. 28] (the “Third Interim Order”)         Deleted: ”) and


and June 21, 2021 [ECF No. 52] (the “Fourth Interim Order”) authorizing the Debtor’s use of cash      Forma&ed: No underline


collateral pending the Final Hearing; and

       The Court having considered the Cash Collateral Motion, the pleadings filed with the

Court, including the objection to the Cash Collateral Motion filed by the Lender, the evidence


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submitted and arguments proffered or adduced at the first interim hearing (the “First Interim

Hearing”) held before the Court on March 2, 2021, the second interim hearing (the “Second Interim

Hearing”) held before the Court on March 15, 2021, the third interim hearing (the “Third Interim

Hearing”) held before the Court on April 5, 2021, the fourth interim hearing (the “Fourth Interim        Deleted: and


Hearing”) held before the Court on June 2, 2021, and the fifth interim hearing (the “Fifth Interim       Deleted: including
                                                                                                         Deleted: representations made by
Hearing”) held before the Court on September 10, 2021, and it appearing that granting the interim        Deleted: Debtor at the Fourth
                                                                                                         Forma&ed: Underline
relief requested as and to the extent provided in this Fifth Interim Order and entering this Fifth
                                                                                                         Deleted: as to the Debtor’s intention to: (i) promptly retain
                                                                                                         a broker and/or investment banker, (ii) consider the Lender’s
Interim Order is necessary to avoid immediate and irreparable harm to the Debtor, its creditors and      recommendations with respect to the selection of a broker
                                                                                                         and/or investment banker, and (iii) upon selection of a broker
                                                                                                         and/or investment banker, promptly and regularly consult
its estate pending the final hearing to be held on ____________, 2021 at 10:00 a.m. (the “Final          with the Lender and the Lender’s representatives, along with
                                                                                                         the broker and/or investment banker, as to the Debtor’s path
Hearing”) and otherwise is fair and reasonable and in the best interests of the Debtor, its estate and   to exit chapter 11
                                                                                                         Deleted: Fourth
its creditors, and equity holders, and is essential for the continued operation of the Debtor’s          Deleted: Fourth
                                                                                                         Deleted: July ___,
business; and after due deliberation and consideration, and good and sufficient cause appearing

therefor,

       IT IS HEREBY ORDERED THAT:

                1.     The request to use Cash Collateral is granted on an interim basis solely in

accordance with and subject to the terms and conditions of this Fifth Interim Order and shall            Deleted: Fourth


terminate on the earliest to occur of (the “Termination Date”): (i) ____________________, 2021,          Deleted: July __,


unless such date is extended by the Lender, (ii) the entry of an order of this Court terminating such

authority; (iii) the dismissal of the chapter 11 case (the “Case”) or conversion to a case under

chapter 7 of the Bankruptcy Code; and (iv) the date that is five (5) days after the Lender provides

a written notice of an Event of Default (the period during which the Debtor is authorized to use

Cash Collateral pursuant to this Fifth Interim Order being referred to as the “Interim Period”),         Deleted: Fourth


except to the extent the Court has entered a further interim or final order authorizing the Debtor’s



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continued use of Cash Collateral beyond the Interim Period.

                2.     The Debtor may use the Cash Collateral during the Interim Period solely to

pay the ordinary, necessary and reasonable expenses of operating the Williamsburg Hotel (the

“Hotel”) that come due (and as they come due in the ordinary course of business) during the

Interim Period solely in accordance with and subject to the budget attached hereto as Exhibit 1

(the “Budget”) but expressly excluding professional fees, it being the understanding of the Parties      Deleted: ”),


that the line item for professional fees in the Budget shall be deemed deleted, and, for the avoidance

doubt, without any prepayment or acceleration of expenses.       The Debtor’s actual disbursements

shall not exceed 110% of the disbursements projected on a “Departmental” level for any week (the

“Permitted Budget Variance”). The Budget and any modification thereto shall be in form and

substance acceptable to the Lender in its sole discretion.

                3.     Pursuant to sections 361, 363(c)(2) and 363(e) of the Bankruptcy Code, the

Lender is entitled to adequate protection to the extent that the imposition of the automatic stay

under section 362 of the Bankruptcy Code, or any use, sale, lease, depreciation, or disposition of

its collateral during the Interim Period results in a diminution in the value of its interests (to the

extent valid, perfected and enforceable) in the collateral (including from the use of Cash Collateral)

from and after the Petition Date (a “Diminution”). The Lender shall receive the following as

adequate protection of such interests:

                a. Adequate Protection Liens. To the extent of any Diminution, the Lender is
                   hereby granted additional and replacement valid, binding, enforceable, non-
                   avoidable, and automatically perfected postpetition security interests in and
                   liens on (the “Adequate Protection Liens”), without the necessity of the
                   execution by the Debtor (or recordation or other filing) of security agreements,
                   control agreements, pledge agreements, financing statements, mortgages, or
                   other similar documents, on all property, whether now owned or hereafter
                   acquired or existing and wherever located, of the Debtor and the Debtor’s
                   “estate” (as created pursuant to section 541(a) of the Bankruptcy Code), of any
                   kind or nature whatsoever, real or personal, tangible or intangible, and now


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                   existing or hereafter acquired or created, including, without limitation, all cash,
                   accounts, inventory, goods, contract rights, instruments, documents, chattel
                   paper, patents, trademarks, copyrights, and licenses therefor, accounts
                   receivable, receivables and receivables records, general intangibles, payment
                   intangibles, tax or other refunds, insurance proceeds, letters of credit, contracts,
                   owned real estate, real property leaseholds, fixtures, deposit accounts,
                   commercial tort claims, securities accounts, instruments, investment, property,
                   letter-of-credit rights, supporting obligations, machinery and equipment, real
                   property, leases (and proceeds from the disposition thereof), other equity or
                   ownership interests, including equity interests in any subsidiaries and non-
                   wholly owned subsidiaries, money, investment property, and causes of action
                   (including causes of action arising other than, for purposes of this Fifth Interim     Deleted: Fourth
                   Order, avoidance actions and the proceeds thereof), and all products, proceeds
                   and supporting obligations of the foregoing, whether in existence on the Petition
                   Date or thereafter created, acquired, or arising and wherever located
                   (collectively, the “Postpetition Collateral”). The Adequate Protection Liens
                   shall be junior only to: (A) the Lender’s prepetition liens, and (B) other
                   unavoidable liens, if any, existing as of the Petition Date that are senior in
                   priority to the Lender’s prepetition liens; provided, however, that the Adequate
                   Protection Liens shall be subject to (x) a $10,000 carve-out for chapter 7
                   administration expenses to the extent necessary, (y) the Debtor’s payment of
                   fees incurred under 28 U.S.C. § 1930 and (z) statutory fees required to be paid
                   to the Clerk of the Court ((x) through (z), the “Carve-Out”).

                b. Superpriority Claim. To the extent provided by sections 503(b) and 507(b) of
                   the Bankruptcy Code, the Lender is hereby granted an allowed administrative
                   expense claim in the Case ahead of and senior to any and all other
                   administrative expense claims in the Case, with the exception of the Carve-Out,
                   to the extent of any Diminution (the “Superpriority Claim”).

                c. Inspection Rights. In addition to any and all rights the Lender has under its
                   prepetition loan documents (the “Prepetition Loan Documents”), upon
                   reasonable notice, the Debtor shall permit representatives, agents and
                   employees of the Lender to (i) have reasonable access to and inspect the
                   Debtor’s assets (which access shall not unreasonably interfere with the Debtor’s
                   operations at the Hotel), including without limitation the Hotel, the ballroom,
                   the rooftop, the water tower, all kitchens and common areas and a reasonable
                   number of unoccupied hotel rooms on the day of inspection and (ii) examine
                   the Debtor’s books and records. The Debtor shall also maintain records
                   regarding the sources and uses of all cash proceeds generated by the Debtor’s
                   business (including without limitation the payment of all expenses pursuant to
                   the Budget) and, upon request, in a timely fashion provide the Lender with
                   access to, and copies of, all such records.

                d. Reporting Rights. In addition to any and all rights the Lender has under the
                   Prepetition Loan Documents, the Debtor shall, reasonably promptly (but no


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                  later than the dates set forth below), provide the Lender and counsel to the
                  Lender with accurate current reporting of operating and financial information,
                  including:

                  i. monthly forward booking reports for all revenue outlets (rooms,
                     restaurant, banquet, etc.) due thirty (30) calendar days prior to the
                     reporting month;

                 ii. monthly bank statements due fifteen (15) business days following the end
                     of the reporting month;

                 iii. monthly income statements due fifteen (15) business days following the
                      end of the reporting month;

                 iv. monthly prepaid revenue reports due fifteen (15) business days following
                     the end of the reporting month;

                  v. monthly accounts receivable reports due fifteen (15) business days
                     following the end of the reporting month;

                 vi. monthly accounts payable reports due fifteen (15) business days following
                     the end of the reporting month;

                vii. monthly report of position-by-position personnel expense with
                     compensation reports due fifteen (15) business days following the end of
                     the reporting month;

                viii. monthly report of staffing changes with respect to “salaried” staff for each
                      month with support due thirty (30) calendar days after the reporting
                      month;

                 ix. monthly forecast of real estate and other taxes due thirty (30) calendar
                     days prior to the reporting month;

                  x. monthly STR Reports due ten (10) business days following Debtor’s
                     receipt of the report;

                 xi. weekly reports of (i) revenues, (ii) expenses, and (iii) budget variance
                     comparing the Debtor’s actual expenses as compared to the Debtor’s
                     budget projections, due (30) calendar days after the reporting month
                     starting with the May reporting month; and

                xii. copies of monthly operating reports required by the United States Trustee
                     and copies of all other materials provided to the United States Trustee due
                     within two (2) business days of providing such materials to the United
                     States Trustee (collectively, the “Reports”).


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                 e. Insurance. The Debtor shall maintain all necessary insurance as required under
                    the Prepetition Loan Documents, naming the Lender as a notice party and
                    additional insured, and shall promptly provide the Lender with proofs of such
                    insurance for the Hotel (including the Lender’s collateral) and copies of all
                    documents related to any insurance premium financing arrangement the Debtor
                    may have.

                 f. Excess Cash Account. The Debtor shall deposit all cash it collects from the
                    Petition Date in excess of its expenditures into the segregated debtor-in-
                    possession bank account established with TD Bank as depository (the “DIP
                    Bank Account”) and shall maintain such cash in the DIP Bank Account until
                    further order of the Court. For the avoidance of doubt, the Lender’s security
                    interests in and liens on the Cash Collateral shall extend to the cash in the DIP
                    Bank Account, and such liens shall be automatically perfected without the need
                    to execute any security or control agreements.

                 4.     The following events shall each constitute an event of default hereunder

(each, an “Event of Default”): (i) the Debtor’s failure to comply with any of the terms of this Fifth      Deleted: Fourth


Interim Order (including compliance with the Budget); (ii) the obtaining of credit or incurring of

indebtedness outside of the ordinary course of business that is either secured by a security interest

or lien that is equal or senior to any security interest or lien of the Lender or entitled to priority

administrative status that is equal or senior to that granted to the Lender; and (iii) entry of an order

by the Court granting relief from or modifying the automatic stay under section 362 of the

Bankruptcy Code to allow a creditor to execute upon or enforce a lien or security interest in any

collateral that would have a material adverse effect on the business, operations, property or assets

of the Debtor.

                 5.     The automatic stay is hereby modified solely to the extent necessary to

permit the Debtor to take all actions necessary to implement this Fifth Interim Order.                     Deleted: Fourth


                 6.     Nothing herein shall impair or modify the application of section 507(b) of

the Bankruptcy Code in the event that the adequate protection provided to the Lender hereunder is

insufficient to compensate for any Diminution. Nothing contained herein shall be deemed a

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finding by the Court, or an acknowledgment by the Lender that the adequate protection granted

herein does in fact adequately protect the Lender against any Diminution.

                7.     This Fifth Interim Order is without prejudice to the rights of the Lender to       Deleted: Fourth


seek a modification of this Fifth Interim Order, including a request for additional adequate              Deleted: Fourth


protection or the termination of the Debtor’s right to use Cash Collateral, after notice and a hearing,

including a hearing noticed on an emergency basis, or the Debtor’s right to oppose such relief.

The Lender has expressly reserved, and this Fifth Interim Order is without prejudice to, any and          Deleted: Fourth


all rights and remedies of the Lender, including as to the appropriateness of any adequate

protection that may be proposed in connection with any authorization to use Cash Collateral after

the Interim Period. The Debtor expressly reserves the right to seek the use of Cash Collateral

beyond the Interim Period, and the Lender reserves the right to oppose such relief.

                8.     Notwithstanding applicability of any Bankruptcy Rules, the terms and

conditions of this Fifth Interim Order shall be immediately effective and enforceable upon its entry.     Deleted: Fourth


                9.     The Court has and will retain jurisdiction to enforce this Fifth Interim Order     Deleted: Fourth


in accordance with its terms and to adjudicate any and all matters arising from or related to the

interpretation or implementation of this Fifth Interim Order.                                             Deleted: Fourth


                10.    The Final Hearing to further consider approval of the use of Cash Collateral

on an interim basis, shall be held on _______________, 2021 at 10:00 a.m. at the United States            Deleted: July __,


Bankruptcy Court for the Southern District of New York, before the Honorable Robert D. Drain,

United States Bankruptcy Judge.

                11.    Any party who wishes to attend the Final Hearing, which will be a

Zoom.gov         hearing,      is      required       to      make        arrangements        through     Deleted: telephonic


http://www.nysb.uscourts.gov/ecourt-appearances.                                                          Deleted: Court Solutions at www.court-solutions.com or by
                                                                                                          telephone: (917) 746-7476



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Dated: August ___, 2021                                                  Deleted: June
       White Plains, New York

                                  ____________________________________
                                  HONORABLE ROBERT D. DRAIN
                                  UNITED STATES BANKRUPTCY JUDGE




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